Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 1 of 124 Page ID #:40




                              EXHIBIT D
   Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 2 of 124 Page ID #:41

VB Conversion

Proof of illegal registration

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 12:03:30 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft




----------------------------------------------
Lochbridge2
   Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 3 of 124 Page ID #:42

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 12:05:31 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7762




----------------------------------------------
Lochbridge2
   Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 4 of 124 Page ID #:43

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 12:05:31 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
   Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 5 of 124 Page ID #:44

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 12:05:31 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCommonLib.vbproj
CSharp Lines                                 407




----------------------------------------------
Lochbridge2
   Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 6 of 124 Page ID #:45

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 12:07:32 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171220




----------------------------------------------
Lochbridge2
   Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 7 of 124 Page ID #:46

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 12:21:33 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCommonLib.vbproj
CSharp Lines                                 407




----------------------------------------------
Lochbridge2
   Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 8 of 124 Page ID #:47

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 12:21:33 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
   Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 9 of 124 Page ID #:48

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 12:21:33 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7762




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 10 of 124 Page ID #:49

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 12:22:34 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171220




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 11 of 124 Page ID #:50

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 1:08:35 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 12 of 124 Page ID #:51

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 1:17:36 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 13 of 124 Page ID #:52

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 1:18:36 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 14 of 124 Page ID #:53

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 1:18:36 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCommonLib.vbproj
CSharp Lines                                 407




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 15 of 124 Page ID #:54

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 1:18:37 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7762




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 16 of 124 Page ID #:55

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 1:19:37 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171220




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 17 of 124 Page ID #:56

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 5:40:39 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Satya
Registration Organization                    comp
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 18 of 124 Page ID #:57

VB Conversion

Proof of illegal registration

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 5:46:02 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 19 of 124 Page ID #:58

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 6:21:32 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7762




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 20 of 124 Page ID #:59

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 6:21:32 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCommonLib.vbproj
CSharp Lines                                 407




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 21 of 124 Page ID #:60

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 6:21:32 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 22 of 124 Page ID #:61

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 6:26:33 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171220




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 23 of 124 Page ID #:62

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 7:26:34 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7772




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 24 of 124 Page ID #:63

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 7:28:35 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 25 of 124 Page ID #:64

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 7:28:36 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCommonLib.vbproj
CSharp Lines                                 407




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 26 of 124 Page ID #:65

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 7:28:36 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7772




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 27 of 124 Page ID #:66

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 7:29:36 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171220




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 28 of 124 Page ID #:67

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 8:52:45 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7779




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 29 of 124 Page ID #:68

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 8:56:46 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7779




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 30 of 124 Page ID #:69

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:01:47 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7779




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 31 of 124 Page ID #:70

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:02:47 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7780




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 32 of 124 Page ID #:71

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:05:48 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7779




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 33 of 124 Page ID #:72

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:05:48 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7779




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 34 of 124 Page ID #:73

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:10:48 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7779




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 35 of 124 Page ID #:74

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:11:49 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7779




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 36 of 124 Page ID #:75

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:16:49 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7779




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 37 of 124 Page ID #:76

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:17:50 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7778




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 38 of 124 Page ID #:77

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:28:50 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7778




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 39 of 124 Page ID #:78

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:32:51 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7774




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 40 of 124 Page ID #:79

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:39:52 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7774




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 41 of 124 Page ID #:80

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:44:52 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7774




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 42 of 124 Page ID #:81

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:45:53 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7773




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 43 of 124 Page ID #:82

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:46:53 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7773




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 44 of 124 Page ID #:83

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:47:54 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7773




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 45 of 124 Page ID #:84

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:54:54 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 46 of 124 Page ID #:85

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:55:55 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7773




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 47 of 124 Page ID #:86

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:55:55 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCommonLib.vbproj
CSharp Lines                                 407




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 48 of 124 Page ID #:87

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:56:55 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171220




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 49 of 124 Page ID #:88

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:57:56 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7773




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 50 of 124 Page ID #:89

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 9:58:56 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7773




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 51 of 124 Page ID #:90

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:03:57 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7776




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 52 of 124 Page ID #:91

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:04:57 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7775




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 53 of 124 Page ID #:92

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:16:58 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 54 of 124 Page ID #:93

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:21:58 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 55 of 124 Page ID #:94

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:23:59 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 56 of 124 Page ID #:95

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:24:59 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 57 of 124 Page ID #:96

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:29:00 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 58 of 124 Page ID #:97

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:31:01 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 59 of 124 Page ID #:98

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:33:01 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 60 of 124 Page ID #:99

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:35:01 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 61 of 124 Page ID #:100

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:40:02 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54429




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 62 of 124 Page ID #:101

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:44:03 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54444




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 63 of 124 Page ID #:102

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:53:03 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54447




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 64 of 124 Page ID #:103

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 10:59:04 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54447




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 65 of 124 Page ID #:104

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 11:08:05 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54447




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 66 of 124 Page ID #:105

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 11:15:06 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7775




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 67 of 124 Page ID #:106

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 11:15:07 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54447




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 68 of 124 Page ID #:107

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 11:15:07 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCommonLib.vbproj
CSharp Lines                                 407




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 69 of 124 Page ID #:108

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/3/2015 11:16:08 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171220




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 70 of 124 Page ID #:109

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/4/2015 8:36:49 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54446




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 71 of 124 Page ID #:110

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/4/2015 10:00:30 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54423




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 72 of 124 Page ID #:111

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/4/2015 10:03:31 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54424




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 73 of 124 Page ID #:112

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/4/2015 10:05:32 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54424




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 74 of 124 Page ID #:113

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/4/2015 10:12:33 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54447




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 75 of 124 Page ID #:114

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/4/2015 10:21:34 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54447




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 76 of 124 Page ID #:115

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/4/2015 10:27:34 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54448




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 77 of 124 Page ID #:116

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 7:43:06 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54448




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 78 of 124 Page ID #:117

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 7:49:06 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54448




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 79 of 124 Page ID #:118

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 8:03:08 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54448




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 80 of 124 Page ID #:119

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 8:14:09 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54448




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 81 of 124 Page ID #:120

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 8:18:09 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54448




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 82 of 124 Page ID #:121

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 8:21:10 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54448




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 83 of 124 Page ID #:122

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 8:31:10 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54448




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 84 of 124 Page ID #:123

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 8:33:11 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54449




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 85 of 124 Page ID #:124

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 8:43:12 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54449




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 86 of 124 Page ID #:125

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 8:50:12 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54449




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 87 of 124 Page ID #:126

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 9:45:13 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54449




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 88 of 124 Page ID #:127

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 10:56:15 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54449




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 89 of 124 Page ID #:128

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 11:00:16 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54450




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 90 of 124 Page ID #:129

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 11:04:16 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 91 of 124 Page ID #:130

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 11:12:20 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 92 of 124 Page ID #:131

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 11:19:26 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 93 of 124 Page ID #:132

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 11:29:28 AM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 94 of 124 Page ID #:133

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:14:29 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 95 of 124 Page ID #:134

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:20:30 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 96 of 124 Page ID #:135

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:23:30 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 97 of 124 Page ID #:136

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:25:31 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 98 of 124 Page ID #:137

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:31:31 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
  Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 99 of 124 Page ID #:138

VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:35:32 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 100 of 124 Page ID
                                       #:139
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:38:32 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 101 of 124 Page ID
                                       #:140
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:44:33 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 102 of 124 Page ID
                                       #:141
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:46:34 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54451




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 103 of 124 Page ID
                                       #:142
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:51:34 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54452




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 104 of 124 Page ID
                                       #:143
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:54:35 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54452




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 105 of 124 Page ID
                                       #:144
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:54:35 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCommonLib.vbproj
CSharp Lines                                 407




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 106 of 124 Page ID
                                       #:145
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:54:36 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7775




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 107 of 124 Page ID
                                       #:146
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 12:55:36 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171220




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 108 of 124 Page ID
                                       #:147
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 1:01:37 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171219




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 109 of 124 Page ID
                                       #:148
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 1:04:37 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171212




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 110 of 124 Page ID
                                       #:149
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 1:09:38 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171212




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 111 of 124 Page ID
                                       #:150
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 1:13:38 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171212




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 112 of 124 Page ID
                                       #:151
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 1:16:39 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.vbproj
CSharp Lines                                 7775




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 113 of 124 Page ID
                                       #:152
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 1:16:39 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCommonLib.vbproj
CSharp Lines                                 407




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 114 of 124 Page ID
                                       #:153
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 1:16:39 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171212




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 115 of 124 Page ID
                                       #:154
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 1:16:39 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.vbproj
CSharp Lines                                 54452




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 116 of 124 Page ID
                                       #:155
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  7/5/2015 1:24:40 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    68.61.7.170
Private IP                                   192.168.2.7
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpWeb.vbproj
CSharp Lines                                 171237




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Lochbridge2
   Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 117 of 124 Page ID
                                      #:156
VB Conversion

Conversions Summary

Server Date          Computer       Project Name           VB Lines        CSharp Lines
    7/3/2015 12:05   MKE122167N01   CorpCore.vbproj                 5788            7762
    7/3/2015 12:05   MKE122167N01   CorpFronEnd.vbproj             41159          54429
    7/3/2015 12:05   MKE122167N01   CorpCommonLib.vbproj             341             407
    7/3/2015 12:07   MKE122167N01   CorpWeb.vbproj                129132         171220
    7/3/2015 12:21   MKE122167N01   CorpCommonLib.vbproj             341             407
    7/3/2015 12:21   MKE122167N01   CorpFronEnd.vbproj             41159          54429
    7/3/2015 12:21   MKE122167N01   CorpCore.vbproj                 5788            7762
    7/3/2015 12:22   MKE122167N01   CorpWeb.vbproj                129132         171220
    7/3/2015 13:08   MKE122167N01   CorpFronEnd.vbproj             41159          54429
    7/3/2015 13:17   MKE122167N01   CorpFronEnd.vbproj             41159          54429
    7/3/2015 13:18   MKE122167N01   CorpFronEnd.vbproj             41159          54429
    7/3/2015 13:18   MKE122167N01   CorpCommonLib.vbproj             341             407
    7/3/2015 13:18   MKE122167N01   CorpCore.vbproj                 5788            7762
    7/3/2015 13:19   MKE122167N01   CorpWeb.vbproj                129132         171220
    7/3/2015 17:40   MKE122167N01   CorpFronEnd.vbproj             41159          54429
    7/3/2015 18:21   MKE122167N01   CorpCore.vbproj                 5788            7762
    7/3/2015 18:21   MKE122167N01   CorpCommonLib.vbproj             341             407
    7/3/2015 18:21   MKE122167N01   CorpFronEnd.vbproj             41159          54429
    7/3/2015 18:26   MKE122167N01   CorpWeb.vbproj                129132         171220
    7/3/2015 19:26   MKE122167N01   CorpCore.vbproj                 5798            7772
    7/3/2015 19:28   MKE122167N01   CorpFronEnd.vbproj             41159          54429
    7/3/2015 19:28   MKE122167N01   CorpCommonLib.vbproj             341             407
    7/3/2015 19:28   MKE122167N01   CorpCore.vbproj                 5798            7772
    7/3/2015 19:29   MKE122167N01   CorpWeb.vbproj                129132         171220
    7/3/2015 20:52   MKE122167N01   CorpCore.vbproj                 5813            7779
    7/3/2015 20:56   MKE122167N01   CorpCore.vbproj                 5822            7779
    7/3/2015 21:01   MKE122167N01   CorpCore.vbproj                 5822            7779
    7/3/2015 21:02   MKE122167N01   CorpCore.vbproj                 5823            7780
    7/3/2015 21:05   MKE122167N01   CorpCore.vbproj                 5822            7779
    7/3/2015 21:05   MKE122167N01   CorpCore.vbproj                 5821            7779
    7/3/2015 21:10   MKE122167N01   CorpCore.vbproj                 5822            7779
    7/3/2015 21:11   MKE122167N01   CorpCore.vbproj                 5825            7779
    7/3/2015 21:16   MKE122167N01   CorpCore.vbproj                 5826            7779
    7/3/2015 21:17   MKE122167N01   CorpCore.vbproj                 5825            7778
    7/3/2015 21:28   MKE122167N01   CorpCore.vbproj                 5825            7778
    7/3/2015 21:32   MKE122167N01   CorpCore.vbproj                 5822            7774
    7/3/2015 21:39   MKE122167N01   CorpCore.vbproj                 5822            7774
    7/3/2015 21:44   MKE122167N01   CorpCore.vbproj                 5822            7774
    7/3/2015 21:45   MKE122167N01   CorpCore.vbproj                 5822            7773
    7/3/2015 21:46   MKE122167N01   CorpCore.vbproj                 5822            7773
    7/3/2015 21:47   MKE122167N01   CorpCore.vbproj                 5822            7773
    7/3/2015 21:54   MKE122167N01   CorpFronEnd.vbproj             41159          54429
    7/3/2015 21:55   MKE122167N01   CorpCore.vbproj                 5822            7773
    7/3/2015 21:55   MKE122167N01   CorpCommonLib.vbproj             341             407
    7/3/2015 21:56   MKE122167N01   CorpWeb.vbproj                129132         171220
    7/3/2015 21:57   MKE122167N01   CorpCore.vbproj                 5822            7773
Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 118 of 124 Page ID
                                   #:157
7/3/2015 21:58   MKE122167N01   CorpCore.vbproj          5822       7773
7/3/2015 22:03   MKE122167N01   CorpCore.vbproj          5825       7776
7/3/2015 22:04   MKE122167N01   CorpCore.vbproj          5824       7775
7/3/2015 22:16   MKE122167N01   CorpFronEnd.vbproj      41159      54429
7/3/2015 22:21   MKE122167N01   CorpFronEnd.vbproj      41159      54429
7/3/2015 22:23   MKE122167N01   CorpFronEnd.vbproj      41159      54429
7/3/2015 22:24   MKE122167N01   CorpFronEnd.vbproj      41159      54429
7/3/2015 22:29   MKE122167N01   CorpFronEnd.vbproj      41159      54429
7/3/2015 22:31   MKE122167N01   CorpFronEnd.vbproj      41159      54429
7/3/2015 22:33   MKE122167N01   CorpFronEnd.vbproj      41159      54429
7/3/2015 22:35   MKE122167N01   CorpFronEnd.vbproj      41159      54429
7/3/2015 22:40   MKE122167N01   CorpFronEnd.vbproj      41159      54429
7/3/2015 22:44   MKE122167N01   CorpFronEnd.vbproj      41160      54444
7/3/2015 22:53   MKE122167N01   CorpFronEnd.vbproj      41163      54447
7/3/2015 22:59   MKE122167N01   CorpFronEnd.vbproj      41163      54447
7/3/2015 23:08   MKE122167N01   CorpFronEnd.vbproj      41163      54447
7/3/2015 23:15   MKE122167N01   CorpCore.vbproj          5824       7775
7/3/2015 23:15   MKE122167N01   CorpFronEnd.vbproj      41163      54447
7/3/2015 23:15   MKE122167N01   CorpCommonLib.vbproj      341        407
7/3/2015 23:16   MKE122167N01   CorpWeb.vbproj         129132     171220
 7/4/2015 8:36   MKE122167N01   CorpFronEnd.vbproj      41163      54446
7/4/2015 10:00   MKE122167N01   CorpFronEnd.vbproj      41164      54423
7/4/2015 10:03   MKE122167N01   CorpFronEnd.vbproj      41165      54424
7/4/2015 10:05   MKE122167N01   CorpFronEnd.vbproj      41165      54424
7/4/2015 10:12   MKE122167N01   CorpFronEnd.vbproj      41165      54447
7/4/2015 10:21   MKE122167N01   CorpFronEnd.vbproj      41166      54447
7/4/2015 10:27   MKE122167N01   CorpFronEnd.vbproj      41166      54448
 7/5/2015 7:43   MKE122167N01   CorpFronEnd.vbproj      41166      54448
 7/5/2015 7:49   MKE122167N01   CorpFronEnd.vbproj      41166      54448
 7/5/2015 8:03   MKE122167N01   CorpFronEnd.vbproj      41166      54448
 7/5/2015 8:14   MKE122167N01   CorpFronEnd.vbproj      41166      54448
 7/5/2015 8:18   MKE122167N01   CorpFronEnd.vbproj      41166      54448
 7/5/2015 8:21   MKE122167N01   CorpFronEnd.vbproj      41166      54448
 7/5/2015 8:31   MKE122167N01   CorpFronEnd.vbproj      41166      54448
 7/5/2015 8:33   MKE122167N01   CorpFronEnd.vbproj      41167      54449
 7/5/2015 8:43   MKE122167N01   CorpFronEnd.vbproj      41167      54449
 7/5/2015 8:50   MKE122167N01   CorpFronEnd.vbproj      41167      54449
 7/5/2015 9:45   MKE122167N01   CorpFronEnd.vbproj      41167      54449
7/5/2015 10:56   MKE122167N01   CorpFronEnd.vbproj      41167      54449
7/5/2015 11:00   MKE122167N01   CorpFronEnd.vbproj      41168      54450
7/5/2015 11:04   MKE122167N01   CorpFronEnd.vbproj      41169      54451
7/5/2015 11:12   MKE122167N01   CorpFronEnd.vbproj      41169      54451
7/5/2015 11:19   MKE122167N01   CorpFronEnd.vbproj      41169      54451
7/5/2015 11:29   MKE122167N01   CorpFronEnd.vbproj      41169      54451
7/5/2015 12:14   MKE122167N01   CorpFronEnd.vbproj      41169      54451
7/5/2015 12:20   MKE122167N01   CorpFronEnd.vbproj      41169      54451
7/5/2015 12:23   MKE122167N01   CorpFronEnd.vbproj      41169      54451
7/5/2015 12:25   MKE122167N01   CorpFronEnd.vbproj      41169      54451
7/5/2015 12:31   MKE122167N01   CorpFronEnd.vbproj      41169      54451
7/5/2015 12:35   MKE122167N01   CorpFronEnd.vbproj      41169      54451
7/5/2015 12:38   MKE122167N01   CorpFronEnd.vbproj      41169      54451
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 119 of 124 Page ID
                                       #:158
     7/5/2015 12:44    MKE122167N01      CorpFronEnd.vbproj      41169    54451
     7/5/2015 12:46    MKE122167N01      CorpFronEnd.vbproj      41169    54451
     7/5/2015 12:51    MKE122167N01      CorpFronEnd.vbproj      41170    54452
     7/5/2015 12:54    MKE122167N01      CorpFronEnd.vbproj      41170    54452
     7/5/2015 12:54    MKE122167N01      CorpCommonLib.vbproj      341      407
     7/5/2015 12:54    MKE122167N01      CorpCore.vbproj          5824     7775
     7/5/2015 12:55    MKE122167N01      CorpWeb.vbproj         129132   171220
     7/5/2015 13:01    MKE122167N01      CorpWeb.vbproj         129131   171219
     7/5/2015 13:04    MKE122167N01      CorpWeb.vbproj         129130   171212
     7/5/2015 13:09    MKE122167N01      CorpWeb.vbproj         129130   171212
     7/5/2015 13:13    MKE122167N01      CorpWeb.vbproj         129130   171212
     7/5/2015 13:16    MKE122167N01      CorpCore.vbproj          5824     7775
     7/5/2015 13:16    MKE122167N01      CorpCommonLib.vbproj      341      407
     7/5/2015 13:16    MKE122167N01      CorpWeb.vbproj         129130   171212
     7/5/2015 13:16    MKE122167N01      CorpFronEnd.vbproj      41170    54452
     7/5/2015 13:24    MKE122167N01      CorpWeb.vbproj         129130   171237




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Lochbridge2
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 120 of 124 Page ID
                                       #:159
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  8/4/2015 1:15:59 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    136.181.195.9
Private IP                                   10.9.160.213
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCommonLib.Tests.vbproj
CSharp Lines                                 301




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Lochbridge
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 121 of 124 Page ID
                                       #:160
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  8/4/2015 1:15:59 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    136.181.195.9
Private IP                                   10.9.160.213
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpFronEnd.Tests.vbproj
CSharp Lines                                 11056




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Lochbridge
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 122 of 124 Page ID
                                       #:161
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  8/4/2015 1:15:59 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    136.181.195.9
Private IP                                   10.9.160.213
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.Tests.vbproj
CSharp Lines                                 1228




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Lochbridge
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 123 of 124 Page ID
                                       #:162
VB Conversion

Proof of illegal conversion

Computer Name                                MKE122167N01
------------------------------------------------------------------
Server date                                  8/4/2015 1:17:01 PM
Installed (user date)               7/3/2015 12:41 PM
Program                                      VB.Net to C# Converter
Program Version                              3.11
Key                                          P7715-1006C-AM2R6-591Y6-EC067
Registration Name                            Sat
Registration Organization                    sat
Registration Email                           satya.guttula@gmail.com
Public IP                                    136.181.195.9
Private IP                                   10.9.160.213
Username                                     SGuttula
Domain                                       PS.M4.LOCAL
Owner                                        Microsoft
Organization                        Microsoft
Project Name                                 CorpCore.Tests.vbproj
CSharp Lines                                 1228




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Lochbridge
    Case 2:16-cv-01435-JAK-KS Document 1-4 Filed 03/01/16 Page 124 of 124 Page ID
                                       #:163
VB Conversion

Conversions Summary


                                                                  VB
 Server Date       Computer          Project Name                 Lines     CSharp Lines
  8/4/2015 13:15   MKE122167N01      CorpCommonLib.Tests.vbproj       242             301
  8/4/2015 13:15   MKE122167N01      CorpFronEnd.Tests.vbproj        6744          11056
  8/4/2015 13:15   MKE122167N01      CorpCore.Tests.vbproj            703           1228
  8/4/2015 13:17   MKE122167N01      CorpCore.Tests.vbproj            703           1228




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Lochbridge
